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                                                                        FILED
                                                                 U.S.DISTRICT COURI
                   IN THE UNITED STATES DISTRICT COURT             SAVANHAH OIV.

                FOR THE SOUTHERN DISTRICT OF GEORGIA             2fliflMAR23 PM 3:09
                               SAVANNAH DIVISION                CLERK
                                                                    somaoFGA.

THE UNITED STATES OF AMERICA,


               Plaintiff,

                   V.                           4:17CR60


RONNIE COPE,


               Defendant.




                                  ORDER




     Counsel in the above-captioned case have advised the Court

that all pretrial motions have been complied with and/or that all

matters   raised    in   the   parties'   motions   have   been resolved   by

agreement. Therefore, a hearing in this case is deemed unnecessary.




     SO ORDERED, this              ay of March, 2018.




                                   UNITED STATES MAGISTRATE JUDGE
                                   SOUTHERN DISTRICT OF GEORGIA
